          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 1 of 29



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
The Livery Round Table, Inc., Black Car Assistance
Corporation, The New York Black Car Operators Injury
Compensation Fund, Limo Association of New York, Case No.: 1:18-cv-02349-JGK-GWG
Inc., Livery Base Owners, Inc., Fast Operating Corp.
d/b/a Carmel Car & Limousine Service, and Reuven
Blecher,

                                   Plaintiffs,

                 - against -

New York City Taxi and Limousine Commission; Meera
Joshi (in her official capacity as Chair and Chief
Executive Officer of the TLC); and The City of New
York,

                                   Defendants.

-----------------------------------------------------------------------X



PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THEIR
    REQUEST FOR AN ORDER GRANTING A PRELIMINARY INJUNCTION
         PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 65



                                            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
                                            225 Liberty Street, 36th Floor
                                            New York, New York 10281
                                            (212) 483-9490 (Telephone)
                                            (212) 483-9129 (Facsimile)


Of Counsel:
       Richard S. Mills, Esq.
       Steven J. Shanker, Esq.
On the Brief:
       Ronald Riccio, Esq.
       Dennis O’Neil Cowling, Esq.
       Matthew Caminiti, Esq.
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 2 of 29



                                       TABLE OF CONTENTS

                                                                                                          PAGE

TABLE OF AUTHORITIES ............................................................................... ii

PRELIMINARY STATEMENT ..........................................................................1
        POINT I

                 The Per Se Violation of Plaintiffs’ Constitutional
                 Rights, Privileges, and Immunities ..................................................3

                 A.       Defendants’ Supremacy Clause Argument Is
                          Erroneous. Plaintiffs Have Alleged the
                          “Something More”: Preemption under Title III,
                          and a Per Se Constitutional Injury. ......................................7
                 B.       Examples of Plaintiffs’ Irreparable Injuries...........................9

                 C.       Balancing of the Equities Favors Plaintiffs ........................ 12

        POINT II
                 Enforcement of Plaintiffs’ Other Federal Constitutional
                 Claims under §1983....................................................................... 13
                 A.       Plaintiffs’ Dormant Commerce Clause Claim .................... 13

                 B.       Plaintiffs’ Equal Protection Claim ...................................... 15
        POINT III

                 Plaintiffs’ Rights under Federalism and
                 Separation-of-Powers Have Been Adequately Pleaded ................ 16

                 A.       Plaintiffs’ State Law Claims Are Likely To Succeed ......... 18

                 B.       Unconstitutionality of Defendants’ New Rule Regime ...... 19

                 C.       Defendants Fail the Boreali Coalescing Circumstances ..... 20
CONCLUSION .................................................................................................. 23

                                                         i
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 3 of 29



                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)

CONSTIUTION
U.S. CONST. art. I, § 8, CL. 3.
   (“Commerce Clause (dormant)”) .................................... 4 n.4, 5, 7, 9 n.7, 13, 15
U.S. CONST. art. VI, cl. 2.
   (“Supremacy Clause”) ................................................. 4 n.4, 6-9 & n.7, 16-17, 21
U.S. CONST. amend. XIV, § 1.
   (“Equal Protection”) ...............................................................4 n.4, 5, 7, 9 n.7, 15

CASES
American Petroleum Inst. v. Jorling,
  710 F.Supp. 421 (N.D.N.Y. 1989) .................................................................... 8-9

AT & T Commc’ns of the Sw., Inc. v. City of Austin, Tex.,
  975 F. Supp. 928 (W.D. Tex. 1997), vacated as moot
  235 F.3d 241 (5th Cir. 2000) .................................................................. 17 & n.11

Bond v. United States,
  564 U.S. 211 (2011) ............................................................................ 5 & n.5, 6-7

Boreali v. Axelrod,
  71 N.Y.2d 1 (1987) ..................................................................... 20 & n.13, 21-23

C.D.S. Inc. v. Bradley Zetler, CDS, LLC,
   691 Fed.Appx. 33 (2d Cir. 2017) ........................................................................ 11

Coastal Distribution, LLC v. Town of Babylon,
  216 Fed.Appx. 97 (2d Cir. 2007) ........................................................................ 11

Dennis v. Higgins,
  498 U.S. 439 (1991) .................................................................................... 7-8, 14
EEOC v. Local 638, et al.,
  1995 WL 355589 (S.D.N.Y June 7, 1995) ............................................. 10-11 n.8
Golden State Transit Corp. v. Los Angeles,
  493 U.S. 103 (1989) ............................................................................................ 14
                                                         ii
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 4 of 29



Hillsborough County v. Automated Lab., Inc.,
   471 U.S. 707 (1985) ...................................................................................... 16-17

LaForest v. Former Clean Air Holding Co.,
  376 F.3d 48 (2d Cir. 2004) ................................................................................. 11

Matter of NYC C.L.A.S.H. v. N.Y. Office of Parks,
  27 N.Y.3d 174 (2016) ......................................................................................... 21

Morales v. Trans World Airlines, Inc.,
  504 U.S. 374 (1992) ............................................................................................ 11

New York State Restaurant Ass’n v. New York City Board of Health,
  545 F.Supp.2d 363 (S.D.N.Y. 2008) ..........................................................4 n.3, 8

Reyes v. McDonald’s Corp.,
  2006 WL 3253579 (N.D.Ill. Nov. 8, 2006) .................................................... 4 n.3

Richmond Boro Gun Club, Inc. v. City of New York,
   97 F.3d 681 (2d Cir. 1996) ........................................................................... 17-18
Shaw v. Delta Air Lines, Inc.,
   463 U.S. 85 (1983) ........................................................................................ 16-17
Tucker Anthony Realty Corp. v. Schlesinger,
  888 F.2d 969 (2d Cir. 1989) ......................................................................... 10-11
Vaquería Tres Monjitas, Inc. v. Irizarry,
  587 F.3d 464 (1st Cir. 2009) ................................................................... 10, 15-16
Western Air Lines v. Port Authority of N.Y. and N J.,
  817 F.2d 222 (2d Cir.1987), cert. denied, 485 U.S. 1006 (1988) ...................... 17

STATUTES
18 U.S.C. § 229, Chemical Weapons Convention Implementation Act ............. 5 n.5

28 U.S.C. § 1367 ...................................................................................................... 17
42 U.S.C. § 1983 ..................................................................... 5, 7-8, 9 n.7, 13-15, 17

42 U.S.C. § 1988 ...................................................................................................... 13



                                                           iii
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 5 of 29



Americans with Disabilities Act of 1990, Pub. L. 101-336, 42 U.S.C.
  § 12101, et seq., 104 Stat. 327

         42 U.S.C. § 12101 ............................................................................................ 3

         42 U.S.C., “Title II” ..................................................................................... 3-4

         42 U.S.C. § 12184(b)(3) (“Title III”) .....................................................passim
         42 U.S.C. § 12201 (“Title IV”)........................................................................ 3

REGULATIONS
49 C.F.R. § 37.23 ................................................................................................. 4 n.3
49 C.F.R. § 37.29 ..............................................................................................passim

OTHER AUTHORITIES
3 N.Y. Prac. Com. Litig. In New York State Courts
   § 18:9 (4th ed. 2005) ............................................................................................ 18

2 N.Y. Jur. 2d Administrative Law § 72 ................................. 6 n.6, 16 n.10, 19 n.12
2 Rotunda & Nowak, Treatise on Constitutional Law
   § 17.8 (2d ed. 1992) ............................................................................................ 18




                                                           iv
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 6 of 29



                                  PRELIMINARY STATEMENT

         Currently before this Court is Plaintiffs’ motion for a preliminary injunction

to maintain the status quo ante while the parties litigate their dispute to determine

whether TLC Rule 59 has been preempted, is unconstitutional or otherwise

unenforceable.

         As plaintiffs have shown, and will show at the April 16, 2018 hearing,

Defendants’ new Rule 59 regime will irreparably injure the reputation and good

will of the Plaintiffs’ businesses once the TLC forces the Plaintiffs to provide any

vehicle (i.e., a WAV) other than the one, (e.g., a luxury sedan) ordered by their

customers. The impossibility of complying with the July 1st deadline, will impel

the TLC to impose penalties upon the Plaintiffs, including suspension and

revocation of their licenses to conduct business, resulting in loss of their personal

livelihoods, insolvency and bankruptcy. Moreover, the cross-dispatch provision of

Defendants’ new Rule 59 regime1                  threatens the Plaintiffs’ state chartered

Workers’ Compensation Insurance Funds for violation of the Funds’ dispatch
1
    After Plaintiffs filed this action, the TLC uploaded to its website Memoranda of Understanding

(“MOU”) for a FHV dispatcher or base to participate as a volunteer in the Defendants’ new

“Pilot” program: Plaintiffs will hereinafter refer to Rule 59 and the Pilot program as the TLC’s

“new Rule 59 regime.” Copies of the MOU for the TLC’s pilot program are annexed as Exhibit

“B” to the Shanker Declaration accompanying this reply memorandum.




                                                 1
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 7 of 29



requirements.

      In other words, through Defendants’ fiat, the very exemption that Congress

enacted to prevent the imposition of an unsustainable economic burden upon the

FHV industry has been illegally supplanted by the TLC via its new Rule 59

regime, to be imposed on the Plaintiffs in under three months.




                                         2
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 8 of 29



                                         POINT I

THE PER SE VIOLATION OF PLAINTIFFS’ CONSTITUTIONAL RIGHTS, PRIVILEGES,
                           AND IMMUNITIES

         Defendants are incorrect in asserting that there is no imminent threat of

irreparable harm to Plaintiffs (Ds’ Mem., 3-8),2 that Plaintiffs can only show

monetary damages (id., 5-7), and that a balancing of the equities does not favor the

Plaintiffs (id., 7-8). Defendants also assert an erroneous standard as to Plaintiffs’

likelihood of success on the merits (id., 8-10), misrepresent such likelihood (id.,

10-13), and confound clear federalism and separation-of-powers precedents, in

order to assert a disingenuous argument that sets up a contorted dichotomy

between “personal” and structural” rights, that is profoundly misleading about

Plaintiffs’ claims in this case (id., 13- 22).

         Defendants’ approach to Plaintiffs’ instant application is to ignore Plaintiffs’

central claim: Defendants’ new Rule 59 regime is preempted under 42 U.S.C.

§12184(b)(3) in Title III of the Americans with Disabilities Act (“ADA”) and by

49 C.F.R. §37.29. Instead of addressing a textbook case of preemption, Defendants

cobble together their opposition from an amalgam of inapplicable segments of the

ADA: “§12101” Findings and Purpose; Title IV, Miscellaneous Provisions,

“§12201” Construction; and summarily “Title II” Public Services by Public


2
    References to Defendants’ Memorandum of Law are shown as “Ds’ Mem., __.”


                                              3
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 9 of 29



Entities3 in order to sidestep and mischaracterize the TLC’s per se unconstitutional

violations of Plaintiffs’ federal rights. Defendants assert that Plaintiffs raise only

“structural” constitutional violations, which are insufficient to demonstrate

irreparable injury.4 (D’s Mem., 3-4).                 Below, Plaintiffs distinguish not only

Defendants’ fallacious “structural” argument, but also distinguish the cases on

which the Defendants rely, which deal only with Supremacy Clause violations, i.e.,

claims that are not anchored (as here) in sufficient allegations relating to the

3
    It is noteworthy that Defendants’ reference to Title II harkens back to their settlement in the

Noel action, in which they agreed that 50% of the yellow cabs would be WAVs by 2020, thereby

voluntarily complying with Title II. See New York State Restaurant Ass’n v. New York City

Board of Health, 545 F.Supp.2d 363, 366 n.2 (S.D.N.Y. 2008) (citing Reyes v. McDonald’s

Corp., 2006 WL 3253579, at *4 (N.D.Ill. Nov. 8, 2006) for the proposition that “voluntary”

compliance with a federal statute subjects an entity to the statute at issue). Here, Defendants’

suggestion that the Pilot is an alternative to Rule 59 is a ruse, as the Pilot may subject any

signatory to “voluntarily” assume Defendants’ Title II transportation obligations as a Public

Entity. See also 49 C.F.R. §37.23 “Service Under Contract.” The FHV sector was not a party to

Noel.



4
    Defendants limit this straw-man argument to the Supremacy Clause. They never address the

merits of Plaintiffs’ additional Equal Protection and dormant Commerce Clause claims discussed

below, and in footnote 18 of Plaintiff’s moving brief (hereinafter “Ps’ Mem., __.”).




                                                  4
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 10 of 29



violation of personal or property rights. The Plaintiffs have established violations

of their personal and property rights under Title III, and also under the Equal

Protection and dormant Commerce Clause, all of which are redressable by 42

U.S.C. §1983.

          Plaintiffs’ entitlement to the relief requested in this proceeding flows from

the Supreme Court’s unanimous decision in Bond v. United States, 564 U.S. 211

(2011), stating:5

                “The individual, in a proper case, can assert injury from
                governmental action taken in excess of the authority that
                federalism defines…. The Framers concluded that
                allocation of powers between the National Government
                and the States enhances freedom, first by protecting the
                integrity of the governments themselves, and second by
                protecting the people, from whom all governmental
                powers are derived… Federalism has more than one
                dynamic…. [not only to] delimit the prerogatives and
                responsibilities of the States and the National
                Government vis-a-vis one another [but also to ensure that

5
    Bond involved a wife’s commission of an otherwise minor crime when her best friend was

impregnated by her husband. The wife placed a substance on her friend’s doorknob, causing a

minor chemical burn.      The wife was prosecuted under the Chemical Weapons Convention

Implementation Act pursuant to an international treaty intended for terrorists using deadly

chemical weapons. She was sentenced to six years in prison. Thus, although the Court mentions

liberty, its analysis of federalism is equally applicable to any concrete, particular, and redressable

injury.




                                                  5
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 11 of 29



                 the] States function as political entities in their own right.
                                              …

                        Federalism also protects the liberty of all persons
                 within a State by ensuring that laws enacted in excess of
                 delegated governmental power cannot direct or control
                 their actions…. By denying any one government
                 complete jurisdiction over all the concerns of public life,
                 federalism protects the liberty of the individual from
                 arbitrary power. When government acts in excess of its
                 lawful powers, that liberty is at stake.”

Id. at 220-22 (citations omitted) (emphasis added).

          Through Defendants’ policymaking, which must be reserved for legislators

under federalism and separation-of-powers principles6 – the TLC has violated the

Plaintiffs’ personal and property rights, both state and federal. Here, as in Bond,

Plaintiffs can obtain redress for their injuries from this Court:

                 “An individual has a direct interest in objecting to laws
                 that upset the constitutional balance between the National
                 Government and the States when the enforcement of
                 those laws causes injury that is concrete, particular, and
                 redressable. Fidelity to principles of federalism is not for
                 the States alone to vindicate.”

Id. at 222 (emphasis added).

          By analogy, the Bond Court recognized the individual’s interest in protecting

his or her personal rights extends to the enforcement of separation-of-powers

principles, stating:


6
    See 2 N.Y. Jur. 2d Administrative Law § 72 (delegation of policymaking function forbidden).


                                                 6
        Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 12 of 29



                     “The recognition of an injured person’s standing to
              object to a violation of a constitutional principle that
              allocates power within government is illustrated, in an
              analogous context, by cases in which individuals sustain
              discrete, justiciable injury from actions that transgress
              separation-of-powers limitations. Separation-of-powers
              principles are intended, in part, to protect each branch of
              government from incursion by the others. Yet the
              dynamic between and among the branches is not the only
              object of the Constitution’s concern. The structural
              principles secured by the separation of powers protect the
              individual as well.”

Ibid.

        The Court concluded by explaining that “[j]ust as it is appropriate for an

individual, in a proper case, to invoke separation-of-powers or checks-and-

balances constraints, so too may a litigant, in a proper case, challenge a law as

enacted in contravention of constitutional principles of federalism.” Id. at 223-24.

        Here, Plaintiffs are attacking the new Rule 59 regime as having been enacted

in contravention of the principles of federalism and separation-of-powers, the

bedrocks of our constitutional forms of government. Plaintiffs’ Supremacy Clause,

dormant Commerce Clause, and Equal Protection claims all challenge that new

Rule 59, amended in contravention of those collective constitutional guarantees.

A.      Defendants’ Supremacy Clause Argument is Erroneous.
        Plaintiffs Have Alleged the “Something More”:
        Preemption under Title III, and a Per Se Constitutional Injury

        As discussed below, in Dennis v. Higgins, 498 U.S. 439 (1991), the Supreme

Court found the dormant Commerce Clause to be enforceable under 42 U.S.C.
                                          7
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 13 of 29



§1983. In discussing the Supremacy Clause, the Dennis Court stated:

                   “Respondents [the State defendants] attempt to
            analogize the Commerce Clause to the Supremacy
            Clause… which we have held does not by itself confer
            any “rights, privileges, or immunities” within the
            meaning of §1983.… The Supremacy Clause, however, is
            “not a source of any federal rights”; rather, it “‘secure[s]’
            federal rights by according them priority whenever they
            come in conflict with state law.”... By contrast, the
            Commerce Clause of its own force imposes limitations
            on state regulation of commerce and is the source of a
            right of action in those injured by regulations that exceed
            such limitations.

Id.at 450 (bold and emphasis added).

      Defendants never acknowledge nor address the actual claim made by

Plaintiffs: that Defendants’ new Rule 59 regime is preempted because Congress

explicitly excluded compulsory replacement of FHV sedans with WAVs as a

means to accommodate wheelchair bound customers. Instead, Defendants cite

American Petroleum Inst. v. Jorling, 710 F.Supp. 421, 432 (N.D.N.Y. 1989), and

New York State Restaurant Ass’n v. New York City Board of Health, 545 F.Supp.2d

363, 367 (S.D.N.Y. 2008) for the proposition that a violation of the Supremacy

Clause, “without more,” cannot serve as the basis for finding per se irreparable

harm to the Plaintiffs. Defendants’ cases are inapposite.

      In American Petroleum, the Court held that the “asserted violation of the

Supremacy Clause cannot, ‘without more,’ serve as a basis for a finding of

irreparable harm.” American Petroleum, supra, 710 F. Supp. at 432. The “more”
                                         8
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 14 of 29



to which the Court was referring is satisfied via a showing of “some physical harm

or loss of liberty… [or] some tangible harm.” Id. at 431. The American Petroleum

plaintiff, however, failed to allege the civil and/or criminal penalties that New

York’s DEC could have imposed upon them (id. at 423), penalties which the Court

suggested might have established irreparable harm pursuant to their Supremacy

Clause claims.         The lack of such allegations proved fatal to their case. Here,

Plaintiffs predicate their claim of irreparable harm on the civil penalties that

inevitably will result from Plaintiffs’ inability to comply with Rule 59, including

suspensions and revocations of business licenses, thereby resulting in loss of

business reputation, good will and bankruptcies. As such, Plaintiffs have alleged

the additional harm – “more” – required to demonstrate per se irreparable injury

pursuant Supremacy Clause violations.7

B.        Examples of Plaintiffs’ Irreparable Injuries

7
    No court, nor Defendant, asserts that Plaintiffs’ Commerce Clause or Equal Protection claims –

both enforceable under §1983 – require a showing of “something more,” as is the case in a

Supremacy Clause violation to demonstrate per se irreparable injury. However, even if such a

showing were required, Plaintiffs satisfy it.           Plaintiffs’ irreparable injuries relate to their

Commerce Clause and Equal Protection claims pursuant to Defendants’ violations of Title III.

Those constitutional claims alone, which may be enforced under §1983, constitute per se

irreparable injury entitling Plaintiffs to injunctive relief.




                                                    9
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 15 of 29



      The various constitutional violations brought about by Defendants’ new

Rule 59 regime not only establish irreparable injury to Plaintiffs per se, but also

threaten deprivation of Plaintiffs’ personal and property rights as of July 1, 2018.

In Vaquería Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464 (1st Cir. 2009), the First

Circuit held that sole economic harm may be deemed irreparable under certain

circumstances:

             “[I]t has also been recognized that some economic losses
             can be deemed irreparable. For instance, “an exception
             exists where the potential economic loss is so great as to
             threaten the existence of the movant’s business.”
             …(citing Doran v. Salem Inn, Inc., 422 U.S. 922, 932
             …(1975) (finding no abuse of discretion in determination
             that “absent preliminary relief [movants] would suffer a
             substantial loss of business and perhaps even
             bankruptcy”)); see also Nat’l Screen Serv. Corp. v.
             Poster Exchange, Inc., 305 F.2d 647 (5th Cir. 1962)
             (affirming grant of preliminary injunction where denial
             of injunctive relief would result in the destruction of
             movant’s business).

                    In addition, we have held that the irreparable harm
             requirement may be met upon a showing that “absent a
             restraining order, [a party] would lose incalculable
             revenues and sustain harm to its goodwill.”

Id. at 485 (citations omitted).

      Courts have also held that potential bankruptcy is an irreparable injury as

such damages cannot be rectified by financial compensation. See EEOC v. Local

638, et al., 1995 WL 355589, *2 (S.D.N.Y June 7, 1995) (quoting Tucker Anthony



                                        10
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 16 of 29



Realty Corp. v. Schlesinger, 888 F.2d 969, 975 (2d Cir. 1989)).8

         Here, the threatened civil penalties imposed by Defendants’ new Rule 59

regime – i.e., suspension and revocation of licenses to operate FHVs – constitute

irreparable injuries. Threats of such penalties constitute irreparable injury as well.

See LaForest v. Former Clean Air Holding Co., 376 F.3d 48, 55 (2d Cir. 2004)

(finding irreparable harm sufficient for a preliminary injunction from (1)

substantial risk to health, (2) severe financial hardship, (3) inability to purchase

life’s necessities, and (4) anxiety associated with uncertainty, if substantiated by

the evidence as harm.)

         Additionally, federal courts have found irreparable injury in the case of: loss

of business reputation, C.D.S. Inc. v. Bradley Zetler, CDS, LLC, 691 Fed.Appx. 33,

35 (2d Cir. 2017); loss of customer relationships for an indeterminate period,

Coastal Distribution, LLC v. Town of Babylon, 216 Fed.Appx. 97, 100 (2d Cir.

2007); and, for situations in which enforcement actions are imminent and repetitive

penalties attach to continuing violations, thereby providing no adequate remedy at

law, Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381 (1992). Thus, the

threatened enforcement of the new Rule 59 regime constitutes irreparable injury


8
    As relied on by Defendants, EEOC is distinguishable because it involved unions’ requests for a

stay after they had already been found liable for discriminatory practices against members.

Having been found liable there was no likelihood of success on the merits.


                                                 11
          Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 17 of 29



faced by Plaintiffs, and entitles the Plaintiffs to a preliminary injunction.

C.       Balancing of the Equities Favors Plaintiffs

         Defendants argue that Plaintiffs cost-based harms are merely “speculative,”

so that a balancing of the equities tips towards them because the expansion of

transportation access for the handicapped community favors denying the relief

sought. (Ds’ Mem., 8). This argument is erroneous. As discussed above, Congress

already weighed the equities between the handicapped and the FHV industry in

enacting Title III, finding in favor of the FHV sedan sector, i.e. Plaintiffs.

Moreover, the harm that will befall the Plaintiffs is not merely speculative. They

will be saddled with the exorbitant costs to immediately acquire over 5,000 WAVs,

or in the alternative, face fines, suspensions, and revocations of their licenses for

non-compliance with the new regime,9 inevitably leading to insolvency. However,

Defendants will suffer no harm by virtue of the preliminary injunction, there is no

rule currently in effect so a preliminary injunction would temporarily freeze and

preserve the status quo during litigation.




9
    Attached as Exhibit “B” to the Shanker Declaration is a March 30, 2018 letter from Mark

Minatel, the President of TransitWorks, who opines that it would take 16-22 months to produce

about 5,000 WAVs.


                                                12
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 18 of 29



                                     Point II

 Enforcement of Plaintiffs’ Other Federal Constitutional Claims under §1983

A.    Plaintiffs’ Dormant Commerce Clause Claims

      Plaintiffs are entitled to injunctive relief, and to recover for injuries from

state or local governments for dormant Commerce Clause violations under 42

U.S.C. §§1983, 1988. In Dennis, the Supreme Court applied §1983 to dormant

Commerce Clause claims flowing from principles of federalism and separation-of-

powers:

                   Respondents argue, as the court below held, that
            the Commerce Clause merely allocates power between
            the Federal and State Governments and does not confer
            “rights.”… There is no doubt that the Commerce Clause
            is a power-allocating provision, giving Congress pre-
            emptive authority over the regulation of interstate
            commerce. It is also clear, however, that the Commerce
            Clause does more than confer power on the Federal
            Government; it is also a substantive “restriction on
            permissible state regulation” of interstate commerce….
            The Commerce Clause “has long been recognized as a
            self-executing limitation on the power of the States to
            enact laws imposing substantial burdens on such
            commerce.” … In addition, individuals injured by state
            action that violates this aspect of the Commerce Clause
            may sue and obtain injunctive and declaratory relief….
            Indeed, the trial court in the case before us awarded
            petitioner such relief, and respondents do not contest that
            decision…. This combined restriction on state power and
            entitlement to relief under the Commerce Clause amounts
            to a “right, privilege, or immunity” under the ordinary
            meaning of those terms.

Dennis, supra, 498 U.S. at 447 (citations omitted, emphasis added).
                                        13
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 19 of 29



      To determine whether a federal statute confers a right within the meaning of

§1983, the Dennis Court relied on Golden State Transit Corp. v. Los Angeles, 493

U.S. 103 (1989), where it set forth three considerations for determining whether a

federal statute confers a “right” within the meaning of §1983:

                    “In deciding whether a federal right has been
             violated, we have considered [1] whether the provision in
             question creates obligations binding on the governmental
             unit or rather ‘does no more than express a congressional
             preference for certain kinds of treatment.’ … [2] The
             interest the plaintiff asserts must not be ‘too vague and
             amorphous’ to be ‘beyond the competence of the
             judiciary to enforce.’… [3] We have also asked whether
             the provision in question was ‘intend[ed] to benefit’ the
             putative plaintiff.”

Dennis, supra, at 448-49 (citations omitted).

      Here, Plaintiffs satisfy these three elements. See P’s Mem. at 16-19

concerning Plaintiffs’ ability to enforce their Title III rights pursuant to §1983.

Moreover, the Dennis Court broadly construed the “rights, privileges, or

immunities” protected by §1983, making no distinction between personal liberties,

personal rights, or property rights:

             “[W]e have rejected attempts to limit the types of
             constitutional rights that are encompassed within the
             phrase “rights, privileges, or immunities [in §1983].”…
             [W]e [have] refused to limit the phrase to “personal”
             rights, as opposed to “property” rights…. We further
             concluded that “the dichotomy between personal liberties
             and property rights is a false one.... The right to enjoy
             property without unlawful deprivation, no less than the
             right to speak or the right to travel, is in truth a ‘personal’
                                           14
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 20 of 29



             right, whether the ‘property’ in question be a welfare
             check, a home, or a savings account.”

Dennis, supra, at 445-46 (citations omitted).

B.    Plaintiffs’ Equal Protection Claim

      Plaintiffs are entitled to a preliminary injunction because their Equal

Protection rights are threatened to be and will be infringed if Defendants are not

enjoined. In Vaquería, supra, 587 F.3d at 468-70, the court affirmed the grant of a

preliminary injunction against the Milk Industry Regulation Administration for the

Commonwealth of Puerto Rico (“ORIL”). Plaintiffs, fresh milk processors in the

Commonwealth, filed suit under §1983, inter alia, alleging that ORIL’s regulatory

scheme governing milk prices violated, among other things, Equal Protection and

the dormant Commerce Clause, seeking to enjoin the Administrator of ORIL from

continuing to implement the challenged regulatory provisions, which allegedly

favored a non-party competing milk processor.

      The First Circuit ruled that the preliminary injunction did not impermissibly

change the status quo between the parties.           Notably, the Court rejected

“defendant’s baffling assertion that the relief ‘forever changed the status quo,’

[whereas] the aim of the order was to establish parity among the [parties] pending

outcome of the litigation.” Id. at 487. Such is the case here. In Vaquería, the

likelihood of success was apparent because the industry was beholden to the

whims of the administrator, made possible by the lack of operating standards. Id. at
                                         15
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 21 of 29



483. The First Circuit also adopted the lower court’s finding with respect to

irreparable harm, noting that they are weighed in tandem on a sliding scale. Id. at

485. Moreover, when balancing the equities, the Court found it was “not close,” as

plaintiffs were facing insolvency. Id. at 486 (emphasis added).

                                            POINT III

      Plaintiffs’ Rights under Federalism and Separation-of-Powers Have Been
                                 Adequately Pleaded

          Defendants incorrectly argue that Plaintiffs fail to assert a federal separation-

of-powers claim. (Ds’ Mem., 13).                 Defendants have violated principles of

federalism and separation-of-powers, both state and federal, by their direct

policymaking that is reserved, under those principles, to Congress or state or city

legislatures.10 The enactment of the new Rule 59 regime violates principles of

federalism and separation-of-powers – bedrocks of our forms of government.

Plaintiffs have adequately asserted these rights in seeking redress of their personal

and property rights, privileges, and immunities. See, supra, Points I and IA.

          Plaintiffs seek injunctive relief from a local regulation, on the ground that

that regulation is preempted by a federal statute which, by virtue of the Supremacy

Clause, must prevail. This presents a federal question that this Court has original

jurisdiction to resolve. Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96 n. 14 (1983);


10
     See 2 N.Y. Jur. 2d Administrative Law § 72. (delegation of policymaking function forbidden).


                                                 16
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 22 of 29



Hillsborough County v. Automated Lab., Inc., 471 U.S. 707 (1985) (under

Supremacy Clause constitutionality of local ordinances is analyzed in the same

way as state laws). The existence (or not) of an implied private right of action, or a

viable § 1983 claim, under the pre-empting federal statute is inapposite to whether

the Court may exercise jurisdiction. Western Air Lines v. Port Authority of N.Y.

and N J., 817 F.2d 222, 225 (2d Cir.1987) (holding that “A claim under the

Supremacy Clause that a federal law preempts a state regulation is distinct from a

claim for enforcement of that federal law.”), cert. denied, 485 U.S. 1006

(1988); AT & T Commc'ns of the Sw., Inc. v. City of Austin, Tex., 975 F. Supp. 928,

936–37 (W.D. Tex. 1997) (holding that the court had jurisdiction to determine that

federal act preempted city ordinance even absent other federal claims), vacated as

moot [11] 235 F.3d 241 (5th Cir. 2000).

          Plaintiffs’ federal preemption claim, augmenting its §1983 claim, affords

more than ample reason to exercise supplemental jurisdiction under 28 U.S.C.

§1367 and to provide the injunctive relief requested, irrespective of whether

Defendants’ constitutional violations are state, federal, or both.

          Accordingly, the TLC’s citation to Richmond Boro Gun Club, Inc. v. City of

New York, 97 F.3d 681 (2d Cir. 1996) is both baffling and sardonic. Baffling,

because the Richmond court never spoke in terms of “dismissible” claims in the


11
     The city’s ordinance was repealed by the state legislature while the appeal was pending. Id.
                                                  17
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 23 of 29



contingent voice used by the TLC (all of the plaintiff’s federal claims had, in fact,

been dismissed when Judge Ragi turned to consider the remaining state law

preemption claim, id. at 689, a claim not asserted here. Sardonic, because the

Circuit Court took care to distinguish its Due Process jurisprudence, by indicating

that one circumstance in which a general class of persons can successfully

challenge a legislative act on procedural Due Process grounds is where, as here,

those persons have been deprived of the legislative process itself. Ibidem, (citing 2

Rotunda & Nowak, Treatise on Constitutional Law § 17.8[(c), n. 7.10] (2d ed.

1992)). The deprivation of that fundamental right – to have elected representatives

make the legislative policy choices that delimit one’s personal right to make a

living – is essential to, and identical in, both the State and Federal Constitutions. It

is settled law in the Second Circuit that irreparable injury is presumed where, as

here, constitutional rights have been violated. 3 N.Y. Prac., Com. Litig. in New

York State Courts § 18:9 (4th ed.). Accordingly, this Court should find that

Plaintiffs have demonstrated a likelihood of success on the merits and enter the

preliminary injunction requested.

A.    Plaintiffs’ State Law Claims Are Likely To Succeed

      For clarification, Plaintiffs did not assert that the Board of Estimate created

the TLC. Cf. Ps’ Mem., 15. The TLC was created at a time (1971) when the City’s




                                          18
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 24 of 29



legislature was unconstitutionally weak, and its delegation to the TLC was

impermissibly broad. (D’s Mem., 21.)

B.        Unconstitutionality of Defendants’ New Rule Regime

          What Plaintiffs have alleged in the alternative, and have demonstrated

throughout their pleadings (Ps’ Mem., 20-25), is that Plaintiffs have the right under

both constitutions to challenge impermissible delegation to, or usurpation of,

policymaking authority by an agency of the executive branch.12 Policymaking

under federalism and separation-of-powers is reserved to the legislative branch.

It follows that cases cited by the Defendants for the proposition that “courts have

repeatedly upheld rules promulgated by TLC that pertain to the regulations and

supervision of the business of transportation for hire in the City” would be upheld.

(Ds’ Mem., 14-16). Agencies are permitted to make rules; but not policy.

Moreover, in opposition, Defendants failed to offer any documents to support an

assertion that the TLC amended Rule 59 pursuant to any legislative policy

determination. The bills offered by Plaintiffs conclusively prove that neither the

State legislature, nor the City Council, have made a policy decision concerning

WAVs. (See Ps’ Mem. Appendix D; Complaint Exhibit 7). By contrast, Plaintiffs

will prove, based on the Title III statute, that Congress, did make a legislative



12
     See 2 N.Y. Jur. 2d Administrative Law § 72 (delegation of policymaking function forbidden).


                                                 19
           Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 25 of 29



policy decision directly, but that it is unlawfully confuted by the TLC’s new Rule

59 regime.

C.        Defendants Fail the Boreali Coalescing Circumstances13

          The first consideration, making value judgments of policy goals to resolve

social problems, is precisely what Defendants concede they did. (Ds’ Mem., 16-

19). Overlooking the fact that neither the New York Legislature, nor the City

Council, have articulated a public policy pursuant to which the TLC could make

such rules, as well as Congress’ enacting a contrary rule, the Defendants also

concede that Rule 59 “provides wheel-chair using customers with additional

options for obtaining additional rides … within TLC’s broad mandate to decide

that additional accessible FHV service is needed to service the public and to

determine how to fund those costs.” (Ds’ Mem., 18). Moreover, in concluding

their opposition point, Defendants concede “the FHV Accessibility Rule is based

on … considerations of how to best attain increased accessibility options for FHV

riders in a way that can be appropriately administered.” (Ds’ Mem. at 19).

Defendants cite no legislative enactment for their decision that additional FHV

service should be provided, or how best to attain increased accessibility options, or


13
     Plaintiffs do not contend that the Boreali “coalescing circumstances” are fixed factors. Boreali

v. Axelrod, 71 N.Y.2d 1 (1987). Moreover, Defendants do not suggest any viable alternatives to

judge their conduct.


                                                  20
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 26 of 29



who should pay for it. In fact, Congress made a decision that the FHV sector could

continue sedan service without obtaining WAVs.

      Second, Defendants contend the TLC did not write on a “clean slate”

because its rule “is in line with the adoption of prior rules TLC has issued

governing both medallion taxis and FHV sectors.” (Ds’ Mem., 19, emphasis

added). The second Boreali consideration requires extant legislative action for

rulemaking, not a history of earlier agency rulemaking on other topics as

Defendants posit. (Ds’ Mem., 19-20). Again, Defendants’ do not identify any

legislation that permitted their new Rule 59 regime directly on the topic of WAVs.

However, Plaintiffs have pointed to Congress’s enactment of Title III that directly

contradicts Defendants’ new regime, a contradiction left unaddressed by

Defendants.

      Third, Defendants absurdly suggest that the Title III exemption is not a

“coalescing circumstance” under Boreali. (Ds’ Mem., 20). Federalism, separation-

of-powers principles, and the Supremacy Clause disagree. Moreover, the third

consideration is whether the New York legislatures have not come to an

agreement, but are in the process of acting, which indicates the matter is “a policy

consideration for the elected body to resolve.” See Matter of NYC C.L.A.S.H. v.

N.Y. Office of Parks, 27 N.Y.3d 174, 184 (2016). Furthermore, it is not the number

of bills that matter – the fact of action is sufficient – but also the dates of the State


                                           21
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 27 of 29



Legislature’s actions demonstrate that the legislators were considering what the

public policy should be, at the same time the TLC issued its own diktat without

legislative guidance, save violating ADA Title III. (See Ps’ Mem. Appendix D;

Complaint Exhibit 7).

      Finally, Defendants confound Plaintiffs’ simple identification of the “field”

where an agency’s special expertise or competence is required: the special

expertise or competence to promulgate WAV obligations in Rule 59. (Ds’ Mem.,

21-22).   The only expertise or competence Defendants identified is the

commissioners’ political appointments by the Mayor to a facially unconstitutional

commission. The TLC offered no scientific analysis or statistical study to justify

this new Rule 59 regime. Rather, Defendants baldly command the FHV sector to

dispatch an arbitrary number of WAVs.        The TLC offered no documentation

concerning where sufficient WAVs could be acquired, or how an owner/operator

would pay for a WAV. The Defendants suggest that Plaintiffs pay for WAVs, if

available, by raising their rates in their filed rate card (Ds’ Mem., 19), clearly

placing Plaintiffs at a competitive disadvantage vis-à-vis yellow and green cabs,

whose WAVs are subsidized by the TLC. Again, Defendants identified no

legislative enactment by which the TLC was authorized to promulgate a Rule.

Instead, Defendants simply assume that the Rule was “undoubtedly the product of

the TLC’s ‘special expertise’ and ‘technical competence’” (Ds’ Mem., 22), without


                                        22
       Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 28 of 29



any other showing. In other words, the TLC and Defendants relied solely on their

own expertise and competence to supersede Congress’ policy decision.

                                 CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction

should be granted, together with such other and further relief as this Court may

deems just, proper, and equitable.


Dated: New York, New York
      April 4, 2018
                              Respectfully submitted,

              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
                          Attorneys for Plaintiffs




                      ________________________________
                              Richard S. Mills, Esq.
                             Steven J. Shanker, Esq.
                            Dennis O’Neil Cowling




                                         23
Case 1:18-cv-02349-JGK Document 26 Filed 04/04/18 Page 29 of 29
